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 7

 8
     Attorneys for Plaintiffs and the Proposed Class

 9

10   United States District Court
     CENTRAL District of California
11

12   KARLA MAREE and MOURAD                      CASE NO. 8:20-cv-885-MWF-MRW
     GUERDAD, individually and on behalf
13   of all others similarly situated,           Date: September 13, 2021
14                        Plaintiffs,            Time: 10:00 a.m.
                                                 Crtrm: 5A
15        v.                                     Judge: Hon. Michael W. Fitzgerald
     DEUTSCHE LUFTHANSA AG, a
16   German public limited company,
17                        Defendant.
18
19

20

21

22

23

24

25

26

27

28   DECLARATION OF WILLIAM W. WICKERSHAM REGARDING CLASS NOTICE PLAN
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 1   I, WILLIAM W. WICKERSHAM, declare as follows:
 2
             1.      I am over 21 years of age and am not a party to this action. This declaration is
 3
     based on my personal knowledge, information provided by the staff of RG/2 Claims
 4
     Administration, LLC ("RG/2"), and information provided by RG/2's media partners, Élan
 5
     Legal Media (“Élan”). If called as a witness, I could and would testify competently to the
 6

 7   facts stated herein.

 8           2.      I am a Vice-President of Business Development and Client Relations at RG/2,
 9   which has been retained as the Settlement Administrator responsible for administering the
10
     Notice Plan ("Notice Plan") and the claims administration processes for the above-captioned
11
     action. RG/2 is a leader in class action settlement administration that provides settlement
12
     administration services and notice plans for class actions involving consumer rights,
13

14   securities, product liability, environmental, employment, and discrimination. I have

15   experience in all areas of class action settlement administration including notification

16   planning including direct notice by mail and email, print publication notice, and digital
17   publication notice methodologies.
18
             3.      A copy of RG/2's firm background and capabilities is attached hereto as
19
     Exhibit 1.
20
             4.      I designed the Notice Plan for the settlement in the above-captioned action
21

22   (“Settlement”) in concert with RG/2’s media partner, Élan. I am responsible for directing

23   RG/2’s execution of the Notice Plan.

24           5.      This Declaration describes (a) the methodology used to create the proposed
25
     Notice Plan; (b) direct notice to those Class Members for whom Lufthansa has email
26
     addresses; (c) the notice to be mailed to class members for whom Lufthansa has mailing
27
     addresses; (d) the digital media notice plan; (e) the Settlement Website; (7) the toll-free
28

     DECLARATION OF WILLIAM W. WICKERSHAM REGARDING CLASS NOTICE PLAN                                   1
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 1   helpline, and (8) the press release.

 2
                                                                    METHODOLOGY
 3

 4               6.          The Notice Plan developed by RG/2 and Élan was designed to reach a
 5
     minimum of 90% of the Class consistent with other effective court-approved notice
 6
     programs, and the Federal Judicial Center’s (FJC) Judges’ Class Action Notice and Claims
 7
     Process Checklist and Plain Language guide. As such, the Notice Plan represents the best
 8

 9   notice practicable and satisfies all due process requirements.

10               7.          Working with our media partner, Élan, RG/2 designed a Notice Plan that

11   utilizes internet banner advertising, social media sponsored posts, paid search text ads, and
12   online video advertisements to reach potential Class Members in the Settlement. In
13
     designing the Notice Plan, we took account of the consumer data that will allow us to target
14
     all residents of the United States who purchased ticket Lufthansa in 2020.
15
                 8.          The proposed Notice Plan uses methods that have been and are currently used
16

17   by the nation’s largest digital marketing, advertising, and media departments to target and

18   place billions of dollars in advertising. These methods include the sophisticated targeting

19   capabilities of digital marketing technologies to meet and reach Class Members through
20
     various digital and social media platforms.
21
                                                             PROPOSED NOTICE PLAN
22
                 9.          The objective of the proposed Notice Plan is to provide notice of the proposed
23

24   Settlement to members of the Proposed Class (“Class Members” or “Class”) that satisfies the

25   requirements of Rule 23 of the Federal Rules of Civil Procedure. The Notice Plan is also
26   consistent with other effective court-approved notice programs in class-action matters and
27
     the Federal Judicial Center’s (FJC) Judges’ Class Action Notice and Claims Process
28
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 1   Checklist and Plain Language Guide.

 2               10.         I understand that, subject to certain exclusions not relevant for publication
 3   notice planning, the Class includes: All residents of the United States who purchased a
 4
     Qualifying Flight on Lufthansa scheduled to operate to or from the United States from
 5
     January 1, 2020 to the Class Notice Date whose flights were cancelled by Lufthansa (the
 6
     “Settlement Class”).
 7

 8               11.         Based upon Élan’s research, the target audience that is consistent with the

 9   Class Member purchasers is estimated to be 48% male and 52% female, with the highest

10   concentration in the 45-54 age range. The Class also has a high index for Asian consumers.
11   The most common annual household income level is in the $200,000 - $249,999 range.
12
                 12.         In terms of media consumption behaviors, the target audience profiles as
13
     heavy internet users, with 69% active on Facebook and 57% on YouTube.
14
                 13.         The research summarized above indicates that a digital notice campaign is a
15

16   highly effective and efficient approach to reaching the target audience.

17               14.         More specifically, we have designed a Media Notice Plan that includes four

18   elements:
19
                       (a) Digital Banner ads on the Google Display Network as well as Élan’s Programmatic
20
                             Display DSP
21

22                     (b) Social media notice using paid static ads on Facebook/Instagram social media

23                           platforms;

24                     (c) Digital ads placed on YouTube;
25
                       (d) Paid search notice ads placed on the Google + Bing search engines to appear in
26
                             response to targeted search terms;
27
28
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 1                     (e) A press release containing the contents of the Summary Notice released nationally

 2                           through national wire service;
 3                     (f) A dedicated, informational website through which Class Members can obtain more
 4
                             detailed information about the Settlement, access the Long-Form Notice and case
 5
                             documents, and file a claim for benefits; and
 6
                       (g) A toll-free telephone and email helpline by which Class Members can obtain
 7

 8                           additional information about the Settlement and request a copy of the Long-Form

 9                           Notice and Claim Form

10               15.         The digital publication notice components of the Media Notice Plan
11   constitute a multi-channel, digital campaign designed to obtain over 8.5 million individual
12
     notice impressions directed to the target audience. Coverage and exposure will be further
13
     increased by the publication of the Settlement Website and the toll-free helpline described
14
     below.
15

16                                                                   DIRECT NOTICE

17               16.         Lufthansa has represented that the total class size is approximately 166,360

18   Settlement Class Members. Of the Settlement Class we understand that Lufthansa possess
19
     email addresses for 77% of the Settlement Class and mailing addresses for an additional
20
     3.4% (for whom Lufthansa has no email address, but does have a mailing address). Based
21
     upon the information provided by Lufthansa the direct mail notice component alone will
22
     reach over 80% of the class.
23

24               17.         RG/2 will mail the Notice in substantially the form attached as Exhibit D to

25   the Settlement Agreement to the last known mailing address of each member of the
26   Settlement Class for whom Lufthansa has no email address, but does have a mailing address.
27
                 18.         The Mailed Notice will summarize the terms of the Settlement and direct
28
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 1   members of the Settlement Class to a website from which they may obtain more detailed

 2   information and documents, including, among other things, a Claim Form attached to the
 3   Settlement Agreement as Exhibit B.
 4
                 19.         In addition, RG/2 will transmit an electronic version of the Long Form Notice
 5
     (Settlement Exhibit C) to the members of the Settlement Class for whom Defendant has e-
 6
     mail contact information. RG/2 will follow standard e-mail best practices to increase
 7

 8   deliverability and bypass junk and SPAM filters, including through use of “unsubscribe”

 9   links and RG/2’s contact information.

10               20.         After disseminating e-mail notice, RG/2 will track e-mail delivery attempts. If
11   an item is returned as undeliverable (commonly referred to as a “bounce”) a reason is
12
     provided. If the return indicates that the e-mail address does not exist as attempted
13
     (commonly referred to as a “hard bounce”) no additional attempts to deliver the e-mail will
14
     be made. If the returned e-mail indicates that the target inbox is full, that delivery has been
15

16   blocked or deferred by the internet service provider, or that any other circumstances prevent

17   delivery (commonly referred to as a “soft” bounce), RG/2 will attempt to re-send the e-mail

18   for period of 72 hours. If the e-mail still cannot be delivered after the 72-hour period, it will
19
     be deemed undeliverable and no additional delivery attempts will be made.
20
                 21.         For all Class Members for whom e-mail notice is undeliverable but Lufthansa
21
     possesses a mailing address, RG/2 will send a Mailing Notice to the last known mailing
22
     address of each such Class Member.
23

24
                  INTERNET AND SOCIAL MEDIA DIGITAL ADVERTISEMENT NOTICE
25
                 22.         Based upon information provided by Lufthansa, the additional approximate
26
     20% of the Settlement Members for whom they do not have contact information are
27
28
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 1   primarily persons who bought tickets through third party travel agents and travel websites.

 2   To reach as many of these particular Settlement Class Members as possible, the digital
 3   media notice campaign will place digital ads with a link to the Settlement Website on
 4
     different internet platforms. Ads will appear on four separate "channels" of internet/social
 5
     media platforms, each of which is optimized to reach the target audience. To that end, the
 6
     digital media notices will run on websites and social media platforms targeting the class’s
 7

 8   demographics. The four platforms are:

 9                          Programmatic Display – 4.6 million viewable internet banner ad impressions
10                           targeting websites that are indexed for US Adults over 18+; with interests connected
                             to Lufthansa and booking travel through travel agents and travel websites;
11
                            Facebook, Instagram, Facebook messenger, Instant articles – 3.3 million
12                           impressions targeting adults 18 and over, with interests in Lufthansa, International
                             Flight;
13

14                          YouTube – 500,00 viewable video impressions targeting adults 18 and over, who
                             search or affinity for to flying with Lufthansa, Lufthansa News;
15
                            Google + Bing Paid Search – approximately 41,071 viewable text ad impressions
16                           targeting adults over 18 who search for selected search terms and topics related to
17                           the class demographic and this settlement.

18               23.         The performance of the digital media placements on the selected platforms

19   will be continually evaluated during the claims period to determine those placements that are
20   producing the best results in terms of qualified visits to the Settlement website.
21
     Accordingly, placements on underperforming platforms will be reduced and placements on
22
     high-performing websites will be increased in order to increase the efficiency and
23
     effectiveness of the web-based notice tactics.
24

25                                                                   PRESS RELEASE

26               24.         In addition to the above, RG/2 will also disseminate a short form version of

27   the notice in a national press release through a nation wire service.
28
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 1                                                           SETTLEMENT WEBSITE

 2               25.         Prior to the launch of the direct and web-based media campaign, RG/2 will

 3   create a dedicated settlement website established for the purposes of disseminating the
 4
     Notice of Class Certification with the contents of the Court-approved Settlement Notices and
 5
     Claim Form.
 6
                 26.         RG/2 will work with the counsel to update the case website to finalize the
 7
     content for the website and the claims portal. The website will provide Class Members with
 8

 9   general information about the Settlement, answers to frequently asked questions, important

10   dates and deadline information, a summary of Settlement benefits, the ability to file an
11   online claim form, a means by which to download copies of certain Settlement documents
12
     (including the Long Form and Summary Notices, Downloadable Claim Form, Settlement
13
     Agreement, and Preliminary Approval Order), and contact information for the Claims
14
     Administrator.
15

16
                                                  TOLL-FREE AND EMAIL HELPLINE
17
                 27.         Prior to the launch of the notice campaign, RG/2 will make available a toll-
18
     free number and email address to assist potential Class Members and any other persons
19
     seeking information about the Settlement. The helpline will be staffed by live operators
20

21   during normal business hours and will be fully automated and will operate 24 hours per day,

22   seven days per week. Callers will have the option to leave a message in order to speak with

23   the Claims Administrator who will return their call within 24 hours. Class members how
24   email will have their emails responded to with 24 hours on a normal business day.
25
                 28.         The toll-free helpline will include a voice response system that allows callers
26
     to listen to general information about the Settlement, listen to responses to frequently asked
27
28
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 1   questions ("FAQs"), or request a paper version of the Long Form Notice and Claim Form.

 2               29.         RG/2 will work with Counsel to finalize responses to the FAQs that will
 3   incorporate the information contained in the Court-approved Class Notice that will provide
 4
     accurate answers to anticipated questions about the Settlement.
 5

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 1
 2

 3                                                        EXHIBITS
                 30.         Attached hereto are true and correct copies of the following exhibits:
 4

 5                           (a)         Exhibit 1: Background information on RG/2 Claims Administration LLC
 6
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
 7
     correct and was executed in New York, NY on August 16, 2021.
 8

 9

10

11                                                                             _________________________________
                                                                               William. W. Wickersham
12

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28
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                              EXHIBIT 1
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SETTING A NEW STANDARD IN
CLASS ACTION CLAIMS ADMINISTRATION

   PHILADELPHIA   • NEW YORK • ATLANTA • SAN DIEGO • SAN FRANCISCO
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       Class Action Experience
       High-Quality Service at Competitive Rates

       RG/2 Claims seasoned professionals utilize their vast class action
       experience, tax and financial management resources to deliver
       high-quality service at competitive rates.




       RG/2 Claims is a boutique class action claims administration firm with a nationwide presence founded
       by seasoned class action practitioners and highly credentialed tax professionals. Our leadership team
       has a collective 100 years’ experience working in the field of class action litigation and settlement
       administration to leverage for the benefit of counsel. Our team of driven class action attorneys,
       highly credentialed CPAs and forensic accountants approach each matter
       with a personal goal to shepherd the settlement through the process from settlement negotiations
       through final approval. Our personal attention and care ensures that the administration is handled in a
       seamless matter that allows counsel to proceed with the knowledge and confidence that their settlement
       will receive the attention and care that they demand. In addition, our operations and IT personnel bring
       individualized innovations to each engagement, driving the notice and settlement administration to
       conclusion. We have the experience to handle large settlements with the personal attention and care
       expected from a boutique firm.

       RG/2 Claims recognizes that cutting-edge technology is the key to efficient and reliable claim processing.
       Our IT Group, including an experienced web design team, enables RG/2 Claims to employ technologies
       used to enhance accuracy, efficiency and interaction of all participants in the claims process. Our
       approach focuses on analysis of case needs, development of solutions to maximize resources and reduce
       costs through accurate and efficient data collection and entry, and ongoing maintenance and support.
       Throughout the entire claims process, our goal is to (1) optimize completeness, accuracy and efficiency
       of the data management system, including online integration; (2) validate critical fields and data; and
       (3) track opt-outs and claimant responses. RG/2 Claims’ proprietary database application provides a
       single source for managing the entire claims administration process
       and expediting decision making and resource management. From the
       initial mailing through distribution of settlement funds and reconciliation of distributed payments, RG/2
       Claims’ CLEVerPay
               CLEVerPay® system centralizes data, facilitating information sharing and efficient communication.




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       Cutting-Edge Technology and Skilled Resources

       The CLEVerPay® System: A proprietary and revolutionary
       application developed exclusively by RG/2 Claims.


       At RG/2 Claims, we developed a proprietary and customizable database with the goal of providing
       single-source management throughout the claims administration process, expediting decision
       making and resource management.

       From the initial mailing through distribution of settlement funds and reconciliation of payments,
       RG/2 Claims’ CLEVerPay® system centralizes the entire process while providing information sharing
       and communications solutions.

       Our CLEVerPay® system is a robust and user-friendly resource that can be easily customized to meet
       your administration and distribution needs. We recognize how essential it is for data to be clean,
       centralized and readily accessible. RG/2 Claims’ CLEVerPay® system has the capacity to assimilate
       and analyze large amounts of raw data from multiple inputs, to convert that raw data into useful
       information and to distribute the useful information in a variety of formats.

       The integration of these elements results in timely and accurate distribution of secure payments
       generated from RG/2 Claims’ single-source CLEVerPay® system.

       For more information, please visit our website to download our CLEVerPay® System Datasheet at:
       http://www.rg2claims.com/pdf/cleverPayDatasheet.pdf.




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       Locations




       PHILADELPHIA
       30 South 17th Street • Philadelphia, PA 19103-4196
       P 215.979.1620 • F 215.979.1695

       NEW YORK
       1540 Broadway • New York, NY 10036-4086
       P 212.471.4777 • F 212.692.1020

       ATLANTA
       1075 Peachtree Street NE, Suite 2000 • Atlanta, GA 30309-3929
       P 404.253.6904 • F 404.253.6905

       SAN DIEGO
       750 B Street, Suite 2900 • San Diego, CA 92101-4681

       SAN FRANCISCO
       Spear Tower • One Market Plaza, Suite 2200 • San Francisco, CA 94105-1127
       P 415.957.3011 • F 415.957.3090



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       Full Life-Cycle Support for Your Class Action
       With You Every Step of the Way

       Whether engaged as a court-appointed settlement administrator,
       claims agent or disbursing agent, RG/2 Claims offers a complete
       range of claims, settlement administration and investment
       management services, including but not limited to:




       PROFESSIONAL CASE MANAGEMENT CONSULTING
       RG/2 Claims provides custom pre-settlement consultation and highly personalized attention
       throughout the life cycle of settlement administration. Each retention begins with an in-depth
       consultation concerning the specific needs of the case. Our professionals routinely and proactively
       identify administrative concerns and identify and propose solutions that avoid delay and remove
       unpredictability from the equation. We work through a coordinated approach involving a core of
       specialists that are intimately familiar with the case entrusted to our care. Our retentions result in
       effective and efficient solutions and greater peace of mind for busy lawyers.

       NOTIFICATION PLANNING AND CAMPAIGNS
       Whether routine or innovative, RG/2 Claims designs cost-effective and thorough notification plans
       that will suit your budget whether the settlement is national in scope or highly localized. RG/2
       Claims guides you through the array of notice publication options at your disposal in a variety of
       media formats.

       WEBSITE DESIGN
       RG/2 Claims can assist in the design and hosting of a website specific to the client’s needs to
       allow for document posting, as well as pertinent information and deadlines about the case. RG/2
       Claims can also provide various options for claims filing, which includes an online portal that allows
       claimants to submit their claims and supporting documentation through the website.

       CLAIMS PROCESSING
       RG/2 Claims utilizes a proprietary and customizable database that provides a single-source
       management tool throughout the claims administration process, expediting decision making and
       resource management. RG/2 Claims’ proprietary and sophisticated CLEVerPay® system centralizes
       the entire process while providing information sharing and communications solutions, from the
       initial mailing through distribution of settlement funds and reconciliation of payments.

       DISTRIBUTION AND TAX SERVICES
       RG/2 Claims’ in-house tax, accounting and financial services professionals provide disbursement
       services, including management of checking, sweep, escrow and related cash accounts, as well
       as non-cash assets, such as credits, gift cards, warrants and stock certificates. RG/2 Claims’ in-
       house CPAs provide a broad array of accounting services, including securing private letter
       rulings from the IRS regarding the tax reporting consequences of settlement payments, the
       preparation of settlement fund tax returns and the preparation and issuance of IRS Forms 1099
       and W-2.

                                                                                                                7
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       Range of Services
       Offering Unparalleled Value

       RG/2 offers a range of quality value-added services
       for your class action administration.




       SECURITIES
       RG/2 Claims’ highly experienced team uses its various resources to locate beneficial holders of securities, including
       working with the Depository Trust Company and a proprietary list of nominee firms to identify and mail notices to the
       class. With RG/2 Claims’ CLEVerPay system, claims are processed efficiently and accurately using our proprietary damage
       grid that calculates class member damages in accordance with a broad array of complex plans of allocation. Claims are
       automatically flagged through a validation process so RG/2 Claims can communicate with class members concerning
       their claims and can assist them in filing claims that are complete and properly documented. Once ready for distribution,
       RG/2 Claims conducts an audit of the claims to insure against calculation errors and possible fraudulent claims. Once the
       audit is completed, RG/2 Claims calculates distribution amounts for eligible class members in accordance with the plan
       of allocation and issues checks and any applicable tax documents. RG/2 Claims is also often called upon to act as the
       Escrow Agent for the Settlement Fund, investing the funds and filing all required tax returns.
       ANTITRUST
       Because of the high-dollar settlements involved in most antitrust cases and potential large recoveries on behalf of class
       members, RG/2 Claims understands the importance of accuracy and attention to detail for these cases. RG/2 Claims
       works with counsel to arrive at the best possible plan to provide notice to the class. With RG/2 Claims’ CLEVerPay system,
       claims filed with a large volume of data, which is common in an antitrust case, can be quickly and easily uploaded into
       our database for proper auditing. Our highly-trained staff consults with counsel to apply an audit plan to process claims
       in an efficient manner while ensuring that all claims meet class guidelines. Once ready for distribution, RG/2 Claims
       calculates check amounts for eligible class members in accordance with the plan of allocation and will issue checks
       (including wire transfers for large distributions) as well as any necessary tax documents. RG/2 Claims is also available to
       act as the Escrow Agent for the Settlement Fund, investing the funds and filing all required tax returns.
       EMPLOYMENT
       With an experienced team of attorneys, CPAs, damage experts and settlement administrators, RG/2 Claims handles
       all aspects of complex employment settlements, including collective actions, FLSA, gender discrimination, wage-and-
       hour and, in particular, California state court class and PAGA settlements. RG/2 Claims utilizes technological solutions
       to securely receive and store class data, parse data for applicable employment information, personalize consents forms
       or claim forms, collect consents or claims electronically, calculate settlement amounts and make payments through
       our proprietary CLEVerPay system. Our proprietary database also allows for up-to-the-minute statistical reporting for
       returned mail, consents or claims received and exclusions submitted. Our CPAs concentrate on withholding and payroll
       issues and IRC section 468(B) compliance and reporting. Customizable case-specific websites allow for online notification
       and claims filing capabilities. With Spanish/English bilingual call center representatives on-staff, class members are
       provided immediate attention to their needs.
       CONSUMER
       RG/2 Claims handles a wide range of complex consumer matters with notice dissemination to millions of class members and
       with settlements involving cash, coupons, credits and gift cards. Our experienced claims administrators are available to provide
       guidance on media, notice and distribution plans that are compliant with the Class Action Fairness Act and the state federal
       rules governing notice, and that are most beneficial to the class. Our proprietary CLEVerPay system provides a secure and
       efficient way to track class member data, claims and payments. Integrated with our database, we can provide a user-friendly
       claims filing portal that will allow class members to complete a static claim form or log-in using user-specific credentials to view
       and submit a claim personalized just for that user. A similar online portal can be provided as a highly cost-effective method for
8      distribution where the class member can log in to obtain coupons, vouchers or credits as their settlement award.
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Effective administration requires proactive planning and precise execution. Before we undertake any matter, we work with you
to develop a specific plan for the administration of your case. The service plan is comprehensive, complete and tailored to your
specific needs.

RG/2 CLAIMS PROVIDES THE SERVICES SUMMARIZED BELOW:
•       Technical consultation during formulation of settlement agreement, including data collection criteria and tax consequences
•       Design and development of notice and administration plan, including claim form design and layout
•       Claim form and notice printing and mailing services
•       Dedicated claimant email address with monitoring and reply service
•       Calculation and allocation of class member payments
•       Claim form follow-up, including issuing notices to deficient and rejected claims
•       Mail forwarding
•       Claimant locator services
•       Live phone support for claimant inquiries and requests
•       Claim form processing
•       Claim form review and audit
•       Check printing and issuance
•      Design and hosting of website access portals
 •     Online claim receipt confirmation portal
  •     Ongoing technical consultation throughout the life cycle of the case
  •    Check and claim form replacement upon request

WE ALSO PROVIDE THE FOLLOWING OPTIONAL SERVICES:
•       Periodic status reporting
•       Customized rapid reporting on demand
•       Issue reminder postcards
•       Consultation on damage analyses, calculation and valuation
•       Interpretation of raw data to conform to plan of allocation
•       Issue claim receipt notification postcards
•       Online portal to provide claims forms, status and contact information
•       Dedicated toll-free claimant assistance line
•       Evaluation and determination of claimant disputes
•       Opt-out/Objection processing
•       Notice translation
•       Integrated notice campaigns, including broadcast, print and e-campaigns
•       Pre-paid claim return mail envelope service
•       Web-based claim filing
•       24/7 call center support
•       Damage measurement and development of an equitable plan of allocation

WE ALSO PROVIDE CALCULATION AND WITHHOLDING OF ALL REQUIRED FEDERAL
AND STATE TAX PAYMENTS, INCLUDING:
•       Individual class member payments
•       Qualified Settlement Fund (QSF) tax filings
•       Employment tax filings and remittance
•       Generation and issuance of W-2s and 1099s
•       Integrated reporting and remittance services, as well as client-friendly data reports for self-filing



        Don’t see the service you are looking for?
        Ask us. We will make it happen.


                                                                                                                            9
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                                                 FOR MORE INFORMATION, PLEASE CONTACT:

                                                 Phone: 1.866.742.4955 (toll free)
                                                 Email: info@rg2claims.com

                                                 WWW.RG2CLAIMS.COM




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